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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                         Alexandria Division

UNITED STATES OF AMERICA                        )
                                                )
        v.                                      )       No. 1:19-cr-57 (LO)
                                                )
SPENCER PAK                                     )

                             MOTION OF THE UNITED STATES
                            TO RESOLVE ATTORNEY CONFLICT

        The United States, by and through the undersigned counsel, hereby moves this Court to

address and resolve the conflict of interest inherent in the representation by defense counsel of

two defendants in the same matter. Spencer Pak has been charged by indictment in this case and

is represented by Alan Cilman. Spencer Pak is scheduled to enter guilty pleas to several charges

on November 6, 2019. The government recently learned that Alan Cilman also represents

Richard Pak, Spencer Pak’s older brother, in a related state proceeding. Richard Pak,

represented by separate counsel in this case, is also scheduled to enter guilty pleas to several

charges on November 6, 2019.

                                          BACKGROUND

        On February 15, 2019, criminal complaints were issued in the Eastern District of Virginia in two

related cases. In No. 1:19-mj-90, the United States charged Spencer Pak, Ha Lim Chung, Grace

Catherine Reilly, and Brandon Sobotta with conspiracy to distribute 500 grams or more of cocaine, in

violation of Title 21, United States Code, Sections 841 and 846. On February 16, 2019, Spencer Pak was

arrested on this criminal complaint. He was stopped by a Loudoun County Deputy Sheriff while driving

a vehicle from his home. Richard Pak was in the passenger’s seat of the vehicle. Marijuana was found in

the vehicle, and a Glock semi-automatic pistol was found in the glove compartment of the vehicle.

Richard Pak was arrested at the scene and charged in Loudoun County with carrying a concealed weapon
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and possession of marijuana, both misdemeanors (Loudoun County General District Court Nos.

GC19000973-00 and GC19000974-00).

        On May 8, 2019, Richard Pak was first charged in this case by indictment (Dkt. 80 in No. 1:19-

cr-112 (LO)). He was arrested on May 9, 2019. Paul Vangellow was initially appointed to represent

Richard Pak. He was subsequently replaced by retained counsel, Matthew Von Fricken. One of the

charges in the May 8, 2019 Superseding Indictment related to the Glock pistol seized February 16, 2019,

by the Loudoun County Sheriff during the traffic stop and arrest of Spencer Pak on a federal charge and

of Richard Pak on the two state misdemeanor charges. Count 13 of the Superseding Indictment charged

both Spencer and Richard Pak with having used, carried, and possessed that firearm in furtherance of, and

during and in relation to, a drug trafficking offense (Dkt. 80 in No. 1:19-cr-112) (LO)).

        On or about February 22, 2019, Alan Cilman first appeared as counsel for Spencer Pak in this

case (Docket Nos. 1:19-mj-90 and 1:19-cr-112). Mr. Cilman continues to represent Spencer Pak.

        On or about April 10, 2019, Alan Cilman entered his appearance for Richard Pak in Loudoun

County General District Court in the two misdemeanor cases. It is the government’s understanding that

the concealed weapon charge was nolle prossed on or about August 14, 2019. The marijuana possession

charge remains pending.

        On or about October 21, 2019, the government learned that Mr. Cilman represents Richard Pak in

the Loudoun County case. The government was contacted by the Alexandria Sheriff’s Office because

Mr. Cilman was at the Alexandria jail asking to see Richard Pak as his attorney. The jail’s records,

however, reflected that Richard Pak was represented by Mr. Von Fricken, and Mr. Cilman was not

permitted to have an attorney/client visit. Later that day, we confirmed through the Loudoun County

Sheriff’s Office that Mr. Cilman represented Richard Pak in the pending state case.




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                                          DISCUSSION

       The government previously moved to resolve a conflict of interest involving Mr. Cilman

and his representation of both Spencer Pak and Zu Chang. See Motion of the United States to

Resolve Attorney Conflict (Dkt. 59 in No. 1:19-cr-112 (LO)). That pleading discusses the well-

settled constitutional principles concerning a defendant’s right to conflict-free counsel and this

Court’s duty to address conflicts of interest when they arise.

       Mr. Cilman’s representation of both Spencer Pak and Richard Pak is an obvious conflict

of interest, and the Court must address this conflict with both Spencer and Richard Pak before it

can accept their guilty pleas on November 6, 2019. Presumably Mr. Cilman and Mr. Von

Fricken have discussed the conflict issue with their clients, and they are prepared to waive the

conflict of interest inherent in Mr. Cilman’s representation of both Spencer and Richard Pak.

Nevertheless, the Court must determine for itself whether their waivers are voluntary, knowing,

and intelligent. See Hoffman v. Leeke, 903 F.2d 280, 288 (4th Cir. 1990). “A waiver is

voluntary if it is ‘an intentional relinquishment or abandonment’ of the right to conflict-free

counsel.” United States v. Cortez, 205 F. Supp. 3d 768, 780 (E.D. Va. 2016) (quoting Hoffman,

903 F.2d at 288). For a waiver to be knowing and intelligent, the defendant must have

“knowledge of the crux of the conflict and an understanding of its implications.” United States

v. Brown, 202 F.3d 691, 698 (4th Cir. 2000). All affected parties must waive the conflict. It is a

fundamental rule of legal ethics that an attorney must obtain informed consent from both clients

when they are waiving a conflict of interest. See Va. Rules of Prof’l Conduct R. 1.17(b); Va.

Rules of Prof’l Conduct R. 1.18(d)(1).

       Given that these are constitutional issues that could give rise to post-conviction litigation,

the Court should take precautions to ensure that any waivers are knowing, voluntary, and

intelligent. In particular, the Court should do the following for each affected party:
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        (i) forthrightly advise each affected client of the right to effective representation
       and of the potential dangers of representation by conflicted counsel; (ii) ensure
       that each affected client understands that right and those perils; (iii) grant each
       affected client the liberty to ask questions regarding the nature and consequences
       of his legal representation; (iv) ascertain whether each affected client has
       discussed the matter with his attorney, or whether he wishes to consult outside
       counsel; (v) endeavor to have each affected client personally articulate in detail
       his intent to waive his right to conflict-free counsel; and (vi) record the waiver
       colloquy.

Cortez, 205 F. Supp. 3d at 780. In addition, the Court should inquire whether the defendants

which to be advised by conflict-free counsel in order to receive independent advice on the

conflict issues. See id. at 781 (appointing independent counsel to “advise [a former client] prior

to and during voir dire concerning [his] waiver”); Order 4, United States v. Livingston, No. 1:15-

cr-201-LO (E.D. Va. Jan. 27, 2016) (appointing “independent counsel for the purpose of

exploring the potential conflict of interest”).

                                          CONCLUSION

       For the foregoing reasons, the Court should conduct a hearing prior to the entry of any

guilty pleas to determine whether Spencer and Richard Pak waive the conflict of interest arising

from Mr. Cilman’s representation of both individuals in related matters.

                                                        Respectfully submitted,

                                                        G. Zachary Terwilliger
                                                        United States Attorney


                                                  By:                  /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of November, 2019, I caused the foregoing document

to be served on all counsel of record through the Official Court Electronic Filing System.




                                                                    /s/
                                                     James L. Trump
                                                     Assistant United States Attorney




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